                        UNITED STATES DISTRICT COURT
                                                for
                    EASTERN DISTRICT OF NORTH CAROLINA
                             WESTERN DIVISION

U.S.A. vs. Michael Antwone Brown                                      Docket No. 5:02-CR-36-1H

                         Petition for Action on Supervised Release

        COMES NOW Mindy L. Threlkeld, probation officer of the court, presenting a petition for
modification of the Judgment and Commitment Order of Michael Antwone Brown, who, upon an
earlier plea of guilty to 18 U.S.C. §922(j) & 2, Possession of a Stolen Firearm and Aiding and
Abetting, was sentenced by the Honorable Malcolm 1. Howard, Senior U.S. District Judge, on
September 17,2002, to the custody ofthe Bureau of Prisons for a term of24 months. It was further
ordered that upon release from imprisonment the defendant be placed on supervised release for 36
months under the standard conditions adopted by the court and the following additional conditions:

1.     The defendant shall participate as directed in a program approved by the probation office for
       the treatment of narcotic addiction, drug dependency, or alcohol dependency which will
       include urinalysis testing or other drug detection measures and may require residence or
       participation in a residential treatment facility.

2.     The defendant shall consent to a warrantless search by a United States Probation Officer or,
       at the request of the probation officer, any other law enforcement officer, of the defendant's
       person and premises, including any vehicle, to determine compliance with the conditions of
       this judgment.

       Michael Antwone Brown was released from custody on April 16, 2010, at which time the
term of supervised release commenced.

        RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR
CAUSE AS FOLLOWS: The defendant has been unemployed for several months. To assist him
in his efforts to find employment, we recommend that his supervision be modified by adding the
conditions listed below. Additionally, the defendant has been unable to make payments towards his
financial obligation and has a balance remaining of$1286.29.

       The defendant signed a Waiver of Hearing agreeing to the proposed modification of
supervision.

        PRAYING THAT THE COURT WILL ORDER that supervised release be modified
as follows:

1.     The defendant shall participate in a vocational training program as directed by the probation
       office.




       Case 5:02-cr-00036-D          Document 74        Filed 07/12/10       Page 1 of 2
Michael Antwone Brown
Docket No. 5:02-CR-36-1
Petition For Action
Page 2



2.     The defendant shall participate in a cognitive behavioral program as directed by the probation
       office.

3.     The offender shall participate in an educational services program as directed by the probation
       officer. Such program may include GED preparation, English as a Second Language classes,
       and other classes designed to improve the defendant's proficiency in skills such as reading,
       writing, mathematics, or computer use.

       Except as herein modified, the judgment shall remain in full force and effect.


Reviewed and approved,                                I declare under penalty of perjury that the
                                                      foregoing is true and correct.


 lsi Robert L. Thornton                                lsi Mindy L. Threlkeld
Robert L. Thornton                                    Mindy L. Threlkeld
Supervising U.S. Probation Officer                    U.S. Probation Officer
                                                      310 Dick Street
                                                      Fayetteville, NC 28301-5730
                                                      Phone: (910) 483-8613
                                                      Executed On: July 9,2010


                                      ORDER OF COURT

Considered and ordered this     1 7k              'r-l
                                ;z... oay of _ _~----:;lU__~-+-_ _, 2010, and ordered filed and
                 r cords in the above case.                /




      Case 5:02-cr-00036-D           Document 74        Filed 07/12/10       Page 2 of 2
